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                      IN THE UNTED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

KAO LEE YANG, Individually, and obo,            §   CIVIL ACTION NO. 14:18-CV-161
S.V. & T.V., Minors                             §
                                                §
v.                                              §   (ADMIRALTY)
                                                §
TEICHMAN GROUP, LLC, T&T                        §
MARINE, INC., & EXPRESS                         §
PROFESSIONAL SERVICES, INC.                     §   Hon. Lynn N. Hughes


         DEFENDANTS TEICHMAN GROUP, LLC and T&T OFFSHORE INC.’S
           MOTION TO ENJOIN FURTHER STATE COURT PROCEEDINGS

TO THE HONORABLE JUDGE LYNN N. HUGHES:

         Defendants Teichman Group, LLC and T&T Offshore, Inc., misnamed in Plaintiff’s

petition as “T&T Marine, Inc.” (collectively, the “T&T Defendants”), file this Motion to Enjoin

further State Court Proceedings.

                          I.       PROCEDURAL BACKGROUND

         1.    This case arises from the deaths of Chi Tai Vong and Blake Carlisle which

occurred in a crane accident at T&T Offshore’s facility in Galveston, Texas on September 20,

2017.

         2.    On September 22, 2017, Vong’s putative wife, Kao Lee Yang filed suit in the

164th District court of Harris County, individually and on behalf of her two minor children,

against T&T Defendants, Express Professional Services, Inc., and OSG Lightering, LLC (the

“Yang Lawsuit”).

         3.    On October 3, 2017, Carlisle’s putative father, Marcus Wilson (“Wilson”), filed a

separate lawsuit against T&T Defendants in the 190th District Court of Harris County (the

“Wilson Lawsuit”).
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       4.      Both cases were removed to federal court with the Yang lawsuit being removed

first and assigned to this Court and the Wilson lawsuit being assigned to Judge Rosenthal. Both

actions were consolidated into this Court. [Doc. 19].

       5.      Attorney Anthony Buzbee is counsel for plaintiff’s in both the Yang lawsuit and

the Wilson lawsuit.

       6.      On January 23, 2018, four days following the removal of both the Yang and

Wilson lawsuits, Yang and Wilson both filed yet a third lawsuit in state court (the “post removal

suit”). Yang subsequently settled all claims with the T&T defendants. This Court approved the

Yang settlement. Yang’s counsel thereafter non- suited all claims against the T&T Defendants in

the post removal suit but did not non- suit the Wilson claim.

       7.      Wilson filed a motion to remand which this court has denied. Yang then filed a

motion to remand which is pending. In opposition to the Yang motion to remand, the T&T

Defendants included a request to enjoin further state court proceedings. In support of that

request, Defendants file this motion to enjoin.

                                      II.     ARGUMENT

       8.      Plaintiff Wilson is attempting to manipulate the forum of this matter. After the

Wilson case was removed, Plaintiff filed an essentially identical suit in state court. This post

removal lawsuit was nothing more than a flagrant attempt to deprive this Court of jurisdiction

and was filed in violation of the stay imposed by 42 U.S.C. 1446(d). The T&T Defendants move

the Court to enjoin the post removal suit filed by Wilson in state court as well as all further state

court proceedings which Wilson may file against the T&T Defendants.

       A.      Plaintiff has engaged in improper forum manipulation through his actions
               post-removal.

       9.      It is within the federal court’s authority to guard against improper forum

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manipulation. On January 23, 2018, four days following the removal of both the Yang and

Wilson lawsuits, Yang and Wilson both filed yet a third lawsuit in state court. This post removal

suit, Cause No. 2018-04606, Kao Lee Yang, individually and obo S.V. & T.V., minors, and

Marcus Wilson v. W L Crane Repair, Inc., T&T Marine, Inc. & Express Professional Services,

was filed in the 61st District Court of Harris County, Texas. Ex. 1. Notably, “T&T Marine Inc.,”

a company that does not exist, is a misnomer for T&T Offshore, Inc. T&T Offshore, Inc. is a

party in both this removed case and in the post removal suit, Express Professional Services was

originally a party but has subsequently been dismissed by Wilson. Wilson is the plaintiff,

Anthony Buzbee is plaintiff’s counsel in all the cases and the claims in all cases are the same.

The only difference in parties is the addition of WL Crane Repair, Inc., to the post removal suit.

This is not material because WL Crane Repair, Inc. was a party to the T&T Defendants’

settlement with Yang and will likewise be a party to any settlement of Wilson’s claims asserted

in the instant case. There is no doubt that the post removal suit was improperly filed to escape

the jurisdiction of this Court, or to somehow improperly manipulate the forum in which the cases

proceed.      Carnegie-Mellon Univ. v. Cohill, 484 U.S. 343, 357 (1988).          Given Wilson’s

immediate filing of the post removal state court action, the case for improper forum manipulation

is clear.

        B.       The T&T Defendants move the Court to enjoin the post-removal state court
                 case.

        10.      Here, despite removal of the originally filed state court cases to federal court,

Plaintiff filed a post-removal case involving essentially the same parties, asserting the same

causes of action, and relying on the same facts. “Where a district court finds that a second suit is

an attempt to subvert the purposes of the removal statute, it is justified and authorized by §

1446(d) in enjoining the proceedings in state court.” Frith v. Blazon-Flexible Flyer, Inc., 512

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F.2d 899, 901 (5th Cir. 1975). Clearly, the post-removal state court case was an attempt to

improperly manipulate the forum of this matter and the T&T Defendants move this Court to

enjoin the post-removal case, as well as any other state court proceedings that may be filed

against them by Wilson.

                                   III.   CONCLUSION

              Accordingly, as the post-removal lawsuit remains pending as to Wilson’s claims

the T&T Defendants move the Court to issue an order enjoining the post removal Wilson state

court suit and any further state court proceedings against T&T based on the accident at issue.

The T&T Defendants also ask for any further legal or equitable relief to which they may be

entitled.

                                           Respectfully submitted,

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                               CERTIFICATE OF SERVICE

        I certify that a copy of the foregoing document was served upon counsel of record
accordance with the Federal Rules of Civil Procedure, via e-service, facsimile and/or certified
mail, return receipt requested to the following on the 29th day of March 2018:

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